Case 3:21-cv-00512-SDD-RLB                                              Document 1-2                               09/03/21 Page 1 of 19

        'EAST BATON ROUGE PARISH                   _709995
              Filed Jul 26, 2021 1:66 PM             21
    •   t,      Deputy Clerk of Court



             KAWANDA COLEMAN                                                                 DOCKET NO.                                        DIV

                                                                                             19TH JUDICIAL DISTRICT COURT

             VERSUS
                                                                                             EAST BATON ROUGE PARISH

             LOUISIANA CVS PHARMACY, L.L.C.                                                  STATE OF LOUISIANA
             #1116, LOUISIANA CVS PHARMACY,
             L.L.C., CVS PHARMACY, L.L.C.,
             CRAWFISH, LLC. and XYZ INSURANCE
             COMPANY


                                                             PETITION FOR DAMAGES



                     The petition of Plaintiff, KAWANDA COLEMAN, domiciled in Pointe Coupee Parish,

             State of Louisiana respectfully represents:

                                                                                     1.

                     Made Defendants herein are:

                                 A.          LOUISIANA CVS, L.L.C. #1116, a business operating and doing
                                             business in the State of Louisiana at 7777 Bluebonnet, Baton Rouge,
                                             Louisiana 70810;

                                 B.          LOUISIANA CVS PHARMACY, L.L.C., a foreign corporation
                                             authorized and licensed to do and doing business in the State of Louisiana,
                                             who has appointed C T Corporation System, as its agent for service of
                                             process, 3867 Tower Avenue, Baton Rouge, Louisiana 70816;

                                 C.          CVS PHARMACY, L.L.C. (Non-Louisiana Corporation), a foreign
                                             corporation authorized and licensed to do and doing business in the State
                                             of Louisiana, who has appointed C T Corporation System, as its agent for
                                             service of process, 3867 Tower Avenue, Baton Rouge, Louisiana 70816;

                                 D.          CRAWFISH, LLC (Non-Louisiana Corporation), a foreign corporation
                                             authorized and licensed to do and doing business in the State of Louisiana,
                                             who has appointed Corporate CreatiOns Network, Inc., as its agent for
                                             service of process, 1070-B West Causeway Approach, Baton Rouge,
                                             Louisiana 70471; and

                                 E.          XYZ INSURANCE COMPANY, an unknown insurance company
                                             providing insurance coverage for defendants, LOUISIANA CVS
                                             PHARMACY, L.L.C.

                                                                                     2.

                      On or about August 12, 2020, plaintiff, KAWANDA COLEMAN (hereinafter referred to

             "COLEMAN"), was an employee of LOUISIANA CVS, L.L.C. #1116, LOUISIANA CVS,

             L.L.C. #1116, LOUSIANA CVS PHARMACY, L.L.C. and/or CVS PHARMACY, L.L.C.

             located at 7777 Bluebonnet in Baton Rouge, East Baton Rouge Parish, Louisiana, within the
                                                                                                     ) '
             jurisdiction of this court.




                                                                                                 J-Icov:J
         Certified True and
                                                                                                                                                                          EXHIBIT
                                                                                                                                                      Generated Dale:
           Correct Copy                                                         East Baton Rouge Parish
                                                                                 Deputy Clerk of Court                                               7/27/2021 9:12 Nat
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                             Alteration and subsequent re-Ming or this certified copy may violate La. R.S. 14:132, 133. and/or RPC Rule 3.301131.
Case 3:21-cv-00512-SDD-RLB                                        Document 1-2                              09/03/21 Page 2 of 19




                                                                                3.

                 On or about the above date, plaintiff, COLEMAN, was an employee of defendant(s),

       LOUISIANA CVS, L.L.C. #1116, LOUISIANA CVS, L.L.C. #1116, LOUSIANA CVS

       PHARMACY, L.L.C. and/or CVS' PHARMACY, L.L.C.'s Store located at 7777 Bluebonnet in

       Baton Rouge, Louisiana wherein COLEMAN was on her lunch break at which time she exited

       the store headed to her vehicle, which was parked in the parking lot.                                                Suddenly and without

       warning, she tripped and fell sideways onto the ramp area, as the expansion joints are too wide,

       which are approximately two (2) inches (2") wide and contributed to her injuries.

                                                                                4.

                 During this occurrence, COLEMAN, in no way contributed to causing the. fall.

                                                                                        5.

                 The incident described above was caused solely by the carelessness, negligence, and fault

       of in the following, non-exclusive, particulars, to-wit:



                           A.          In failing to use reasonable care to keep the premises in a clean and safe
                                       condition;

                          B.           In failing to use reasonable care to keep the premises free of hazardous
                                       conditions;

                           C.          In failing to warn of potential unsafe conditions;

                          D.           In allowing employees and/or patrons to use the store/facility while in a
                                       dangerous condition which could and did cause injury(ies);

                                       In having constructive or actual knowledge and not removing a hazardous
                                       condition,

                           F.          In having constructive or actual knowledge and not properly warning of the
                                       hazardous condition;

                           G.          In failing to remove the hazardous condition, and

                          K.           Any and, all ether acts of negligence and fault to be proven through
                                       discovery or at the trial of this matter.'

                                                                                6.

                 Alternatively, plaintiff shows that defendants, LOUISIANA CVS, L.L.C. #1116,

       LOUSIANA CVS PHARMACY, L.L.C., CVS PIARMACY, L.L.C. and/or CRAWFISH,

        LLC, are negligently liable for damages sustained by COLEMAN herein pursuant to La. C.C.

       Art. 2317, et seq.

                                                                                7.




       Certified True and
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         Correct Copy                                                     East Baton Rouge Parish
                                                                           Deputy Clerk of Court                                             7/27/2021 9:12 AM
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                        Alteration and subsequent mann of this certilled copy may violate La. R.S. 14:132. 133. and/or RPC Rule 3.3911(31.
Case 3:21-cv-00512-SDD-RLB                                         Document 1-2                                09/03/21 Page 3 of 19




                At the times pertinent herein, LOUISIANA CVS, L.L.C. #1116, LOUSIANA CVS

       PHARMACY, L.L.C., CVS PHARMACY, L.L.C. and/or CRAWFISH, LLC were the

       owner(s) of and/or had care, custody and control over the premises and its defects which caused

       harm to plaintiff, COLEMAN.

                                                                                 8.

                 LOUISIANA CVS, L.L.C. #1116, LOUSIANA CVS PHARMACY, L.L.C., CVS

       PHARMACY, L.L.C. and/or CRAWFISH, LLC are therefor'e liable in solido unto. COLEMAN

       for her injuries in said incident, which are itemized and set out hereafter.

                                                                                 9.

                As a result of the fault, negligence, and/or strict liability of the defendant in causing the

       aforementioned incident, plaintiff, COLEMAN, suffered injuries including, but not limited to the

       following: suffered injuries including, but not limited to the following:

                         A.     Head;
                         13.    Neck;
                         C.     Shoulders;
                         D.     Headaches;
                         E.     Arms;
                         F.     Back;
                         G.     Legs;
                         H.     Hips; and
                         I.     Any and all other injuries to be shown upon trial of this matter.

                                                                                10.

                As a result of the incident sued upon herein, plaintiff, COLEMAN, suffered the following

       damages:

                         A.           Physical pain and suffering - past, present, and future;
                         B.           Mental pain, anguish, and distress - past, present, and future;
                         C.           Medical expenses - past, present, and future;
                         D.           Loss of enjoyment of life - past, present, and future; and
                         E.           Any and all other damages to be proven at trial of this matter.

                                                                                11.

                As a result of the incident sued upon herein, plaintiff, COLEMAN, suffered the following

       damages:

                          A.          Loss of consortium - past, present, and future;
                          B.          Loss of society and companionship - past, present, and future; and
                          C.          Any and all other damages which shall be proven at trial of.this matter.

                                                                                12.

                Pursuant to the provisions of the Louisiana Code of Civil Procedure, Article 1423, etseq.,

       the petitioner is entitled to a certified copy. of any insurance policies issued to and/or otherwise




                                                                        -1(Xlarin
       Certified True and                                                                                                                        Generated Date:
         Correct Copy                                                      East Baton Rouge Parish
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      CertID: 2021072700177                                                 Deputy Clerk of Court




                       Alteration and subsequent re.filing of this certified copy may violate La. R.S. 14:132. 133, and/or RPC Rule 3.3(a)(3).
Case 3:21-cv-00512-SDD-RLB                                        Document 1-2                               09/03/21 Page 4 of 19




       insuring LOUISIANA CVS, L.L.C. #1116, LOUSIANA CVS PHARMACY, L.L.C., CVS

       PHARMACY, L.L.C. and/or CRAWFISH, LLC for the claims made by petitioner herein.

       Plaintiff, COLEMAN, herein request's a certified copy of any and all such policies of insurance

       within thirty (30) days of service of the petition upon them.

                                                                              13:

                Plaintiff, COLEMAN, is hereby entitled to damages for the items set forth above in such

       amounts as are reasonable in the premises.



                WHEREFORE, plaintiff prays:

                1.       That certified copies of this petition, together with citation, be issued and served
                         according to law on the defendants:

                            A.         LOUISIANA CVS, L.L.C. #1116, a business operating and doing
                                       business in the State of Louisiana at 7777 Bluebonnet, Baton Rouge,
                                       Louisiana 70810;

                            B.         LOUISIANA CVS PHARMACY, L.L.C., a foreign corporation
                                       authorized and licensed to do and doing business in the State of Louisiana,
                                       who has appointed C T Corporation System, as its agent for service of
                                       process, 3867 Tower Avenue, Baton Rouge, Louisiana 70816;

                            C.         CVS PHARMACY, L.L.C. (Non-Louisiana Corporation), a foreign
                                       corporation authorized and licensed to do and doing business in the State
                                       of Louisiana, who has appointed C T Corporation System, as its agent for
                                       service of process, 3867 Tower Avenue, Baton Rouge, Louisiana 70816;

                            D.         CRAWFISH, LLC (Non-Louisiana Corporation), a foreign corporation
                                       authorized and licensed to do and doing business in the State of Louisiana,
                                       who has appointed Corporate Creations Network, Inc., as its agent for
                                       service of process, 1070-B West Causeway Approach, Baton Rouge,
                                       Louisiana 70471; and

                            E.         XYZ INSURANCE COMPANY, an unknown insurance company
                                       providing insurance coverage for defendants, LOUISIANA CVS
                                       PHARMACY, L.L.C.

                2.       After the lapse of all legal delays and proceedings had, there be judgement against
                         defendants, LOUISIANA CVS, L.L.C. #1116, LOUSIANA CVS PHARMACY,
                         L.L.C., CVS PHARMACY, L.L.C. and/or CRAWFISH, LLC, and in favor of
                         plaintiff, in such amounts as are reasonable in the premises;

                3.       For legal interest from date of judicial demand on all amounts awarded, and for all
                         costs of these proceedings; and

                4.        For all necessary orders and decrees as may be required or proper in the premises
                          for full, general and equitable relief.




                                                                       tyt                 J-10a,m)
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         Correct Copy                                                     East Baton Rouge Parish
                                                                           Deputy Clerk of Court                                              7/27/2021 9:12 AM
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                       Alteration and subsequent re-filing of this codified copy may violate La. R.S. 14:132, 133, and/or RPC Rule 33(0(3).
Case 3:21-cv-00512-SDD-RLB                                           Document 1-2                               09/03/21 Page 5 of 19




                                                                                          RESPECT.UFtLY SUBMITTED:

                                                                                          BALFOUR EMOIVET LAW FIRM



                                                                                          SCO T M. EMONET - 426630
                                                                                          PHILIP J. HOUSE - ir2,8934
                                                                                          318 St. Charles Street
                                                                                          Baton Ronge, Louisiana 70802
                                                                                          (22).214-4484 Telephone
                                                                                         :(225) 214-4487 Facsimile

                                                                                          Counselfor Petitioner


       PLEASE SERVE.:

       LOUISIANA CVS, L.L:C. /4116
       7777 Bluebonnet
       Baton. Rouge, Louisiana. 70810

       LOUISIANA CVS PHARMACY, L.L.C.
       through its agent for service of process:
       C T Corporation System, as process,
       3867 Tower. Avenue
       Baton Rouge, Louisiana 70816

       CVS PHARMACY, L.L.C. (Non-Louisiana Corporation): : '
       througE:itS'agentfor service of process:
       C.T Corporation System, as process,:
       3867 Tower Avenue
       Baton Rouge, Louisiana 70816

       CRAWFISH, LLC (Non-Lonisiana Corporation)
       through its agent for sets/ice of process:
       corporte Creations Network, Inc.
       1070-B 'West Causeway Approach
       Baton Rouge, Louisiana.70471


       PLEASE WITHHOLD SERVICE:

       XYZ INSURANCE COMPANY




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       Certified True and
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         Correct Copy                                                         East Baton Rouge Parish
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      CertID: 2021072700177                                                    Deputy Clerk of Court




                       Alteration and subsequent re-filing   of this certified copy may violate La. R.S. 19:132, 133 and/or RPC Rule 3.3(a)(3).
Case 3:21-cv-00512-SDD-RLB                                           Document 1-2                               09/03/21 Page 6 of 19


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        KAWANDA COLEMAN                                                                   DOCKET NO.                                         DIV

                                                                                          19TH JUDICIAL DISTRICT COURT

        VERSUS
                                                                                          EAST. BATON ROUGE PARISH

        LOUISIANA CVS. PHARMACY, L.L.C.                                                   STATE OF LOUISIANA'
        #1116, LOUISIANA CVS PHARMACY,
        L.L.C., CVS PHARMACY, L.L.C.,
        CRAWFISH; LLC. and •XYZ INSURANCE
      •. COMPANY

                          REQUEST FOR TEN DAYS NOTICE OF SETTING AND
                        FOR NOTICE OF INTERLOCUTORY.ORDER OR JUDGMENT



                 Plaintiff; KAYVANDA COLEMAN, equest • that they be given                                                       at   least ten (10) days

        .written:notice in'advance, in accord:Uwe with thebrovisionti of Article 1572 of the Louisiana Code

         of Civil ProCedure, of the date this case is to be fixed for trial,. Plaintiff further requests written

        'notice of the rendition of any interlocutory order Or judgment in this case, ptItspant to Article 1914 .

         of the Louisiana Code of Civil Procedure:'


                                                                                          RESPECTUFLLY SUBMITTED:

                                                                                          BALFOUR EMONET LAW FIRM




                                                                                          SC TT M. EMONET - #26630
                                                                                          PHILIP J. HOUSE - #28934
                                                                                          318 St. Charles Street
                                                                                          Baton Rouge, Louisiana 70802
                                                                                          (225) 214-4484 Telephone
                                                                                          (225) 214-440 Facsimile
                                                                                          philip@balfouremonetlaw.com
                                                                                          Counsellor Petitioner




        Certified True and
                                                                                                                                                    Generated Date:
           Correct Copy                                                     East Baton Rouge Parish
                                                                             Depuly Clerk of Court                                                 7/27/2021 9:12 AM
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Case 3:21-cv-00512-SDD-RLB                                               Document 1-2                        09/03/21 Page 7 of 19


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                                                                      CITATION


KAWANDA COLEMAN                                                                         NUMBER C-709995 SEC. 21
(Plaintiff)
                                                                                        19t11 JUDICIAL DISTRICT COURT
VS
                                                                                        PARISH OF EAST BATON ROUGE
LOUISIANA CVS PHARMACY, L.L.0 #1116,
ET AL                                                                                   STATE OF LOUISIANA
(Defendant)



TO:       CRAWFISH, LLC (NON-LOUISIANA CORPORATION)
          THROUGH ITS AGENT FOR SERVICE OF PROCESS:
          CORPORATE CREATIONS NETWORK, INC,
          1070-B WEST CAUSEWAY APPROACH
          BATON ROUGE, LA 70471

GREETINGS:

        Attached to this citation is a certified copy of the petition*. The petition tells you what you are being
sued for.
        You must EITHER do what the petition asks OR, within fifteen (15) days after you have received
these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at
300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further
notice.
        This citation was issued by the Clerk of Court for East Baton Rouge Parish on JULY 27, 2021.




                                                                                                        Vt     10-
                                                                                                               .   171          1)r-A MA)

                                                                                                      Deputy Clerk of Court for
                                                                                                      Doug Welborn, Clerk of Court
Requesting Attorney: HOUSE, PHILIP J.
                    (225) 214-4484

*The following documents are attached:
PETITION FOR DAMAGES; REQUEST FOR TEN DAYS NOTICE OF SETTING AND FOR NOTICE OF
INTERLOCUTORY ORDER OR JUDGMENT
                                       SERVICE INFORMATION:

Received on the day of __an_                        202'\ and on the Yo            day of ___Z:JA 4\1        20 J.,       , served on the above named party as
follows:
PERSONAL SERVICE: On the party here            named at

DOMICILIARY SERVICE: On the within named                                             by leaving the same at his domicile in this parish in the hands of
                     a person of suitable age and discretion residing in the said domicile at

SECRETARY OF STATE: By tendering same to the within named, by handing same to

DUE AND DILIGENT:                  After diliRnt search and inquiry, was unable to fifki the wit in named        k.        krrs&        or his domicile, or anyone
legally authorized to represent hint.                            j"                                                   E                     :„1 \ ,s
RETURNED: Parish of East Baton Rouge, this           S C...› day of


SERVICES
MILEAGES                                                                 Deputy Sheri
TOTAL: $                                                         Parish of East Baton Ro
                                                                                                                                              RECEIVED
                                                                        CITATION-2000
                                                                                                                                           JUL 3 0 2021
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  Case 3:21-cv-00512-SDD-RLB                                      Document 1-2                    09/03/21 Page 8 of 19


CT Corporation                                                                                    Service of Process
                                                                                                  Transmittal
                                                                                                  08/05/2021
                                                                                                  CT Log Number 540026091
TO:         Serviceof Process
            CVS Health Companies
            1 CVS DR MAIL CODE 1160
            WOONSOCKET, RI 02895-6146

RE:         Process Served in Louisiana

FOR:        Louisiana CVS Pharmacy, L.L.C. (Domestic State: LA)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 KAWANDA COLEMAN, Pltf. vs. LOUISIANA CVS PHARMACY, L.L.C. #1116, et al., Dfts.
DOCUMENT(S) SERVED:

COURT/AGENCY:                                    None Specified
                                                 Case # C709995
NATURE OF ACTION:                                Employee Litigation - Personal Injury
ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Baton Rouge, LA
DATE AND HOUR OF SERVICE:                        By Process Server on 08/05/2021 at 09:00
JURISDICTION SERVED :                            Louisiana
APPEARANCE OR ANSWER DUE:                        None Specified
ATTORNEY(S) / SENDER(S):                         None Specified
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 08/05/2021, Expected Purge Date:
                                                 08/10/2021
                                                 Image SOP
                                                 Email Notification, Serviceof Process service_of_process@cvs.com

REGISTERED AGENT ADDRESS:                       C T Corporation System
                                                3867 Plaza Tower Dr.
                                                Baton Rouge, LA 70816
                                                800-448-5350
                                                MajorAccountTeam1®wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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Case 3:21-cv-00512-SDD-RLB                                                Document 1-2                     09/03/21 Page 9 of 19


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                                                                       CITATION

KAWANDA COLEMAN                                                                         NUMBER C-709995 SEC. 21
(Plaintiff)
                                                                                       19th JUDICIAL DISTRICT COURT
VS
                                                                                        PARISH OF EAST BATON ROUGE
LOUISIANA CVS PHARMACY, L.L.0 #1116,
ET AL                                                                                  STATE OF LOUISIANA
(Defendant)




TO:        LOUISIANA CVS PHARMACY, L.L.C.
           THROUGH ITS AGENT FOR SERVICE OF PROCESS:
           C T CORPORATION
           3867 TOWER AVENUE
           BATON ROUGE, LA 70816

GREETINGS:

        Attached to this citation is a certified copy of the petition*. The petition tells you what you are being
sued for.
        You must EITHER do what the petition asks OR, within fifteen (15) days after you have received
these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at
300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not fi le
an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further
notice.
        This citation was issued by the Clerk of Court for East Baton Rouge Parish on JULY 27, 2021.
                                                            „utIs



                                                                                                                  at ivA Nahh,)
                                                                                       ,
                                                                                                     Deputy Clerk of Court for
                                                                                                     Doug Welborn, Clerk of Court
Requesting Attorney: HOUSE, PHILIP J.
                    (225) 214-4484

*The following documents are attached:
PETITION FOR DAMAGES; REQUEST FOR TEN DAYS NOTICE OF SETTING AND FOR NOTICE OF
INTERLOCUTORY ORDER OR JUDGMENT
                                                              SERVICE INFORMATION:

Received on the day of                  , 20                and on the             day of                  , 20     , served on the above named party as
follows:
PERSONAL SERVICE: On the party herein named at

DOMICILIARY SERVICE: On the within named                                            , by leaving the same at his domicile in gtri"-SCpViMPthe hands of
                     a person of suitable age and discretion residing in the said domicile at

SECRETARY OF STATE: By tendering same to the within named, by handing same to                                                 AUG 0 4 2021
DUE AND DILIGENT:                 After diligent search and inquiry, was unable to find the within named                       51901jAPVIliieiteFbrIF4One
legally authorized to represent him.

RETURNED: Parish of East Baton Rouge, this                    day of                       20


SERVICE:$
MILEAGES                                                               Deputy Sheriff
TOTAL: $                                                        Parish of East Baton Rouge


                                                                         CITATION-2000
Case 3:21-cv-00512-SDD-RLB                                               Document 1-2                      09/03/21 Page 10 of 19



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                                                                       CITATION

KAWANDA COLEMAN                                                                        NUMBER C-709995 SEC. 21
(Plaintiff)
                                                                                       19th JUDICIAL DISTRICT COURT
VS
                                                                                       PARISH OF EAST BATON ROUGE
LOUISIANA CVS PHARMACY, L.L.0 #1116,
ET AL                                                                                  STATE OF LOUISIANA
(Defendant)
                                                                                                                              pay through the
                                                                                                                        named pa
                                                  ade service on the
TO:       LOUISIANA CVS PHARMACY, L.L.C.                      CT Corporation
          THROUGH ITS AGENT FOR SERVICE OF PROCESS:                        2021
                                                              AUG 5 thisdocument  document to
          C T CORPORATION                                                of f
          3867 TOWER AVENUE                        by tendering a  COPY
                                                                 Ashley Ihnyielle
          BATON ROUGE, LA 70816

GREETINGS:
                                                                                                                 E. CL1MMINS
                                                                                                                          tR

        Attached to this citation is a certified copy of the petition*. The petition  tE st :5:
                                                                                      y: u          aL°1
                                                                                                      r::eing
sued for.
        You must EITHER do what the petition asks OR, within fifteen (15) days after you have received
these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at
300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further
notice.
        This citation was issued by the Clerk of Court for East Baton Rouge Parish on JULY 27, 2021.




                                                                                                                          J,..10iv„)
                                                                                                     Deputy Clerk of Court for
                                                                                                     Doug Welborn, Clerk of Court
Requesting Attorney: HOUSE, PHILIP J.
                               (225) 214-4484

*The following documents are attached:
PETITION FOR DAMAGES; REQUEST FOR TEN DAYS NOTICE OF SETTING AND FOR NOTICE OF
INTERLOCUTORY ORDER OR JUDGMENT
                                       SERVICE INFORMATION;

Received on the day of                  , 20                and on the            day of                    20      served on the above named party as
follows:
PERSONAL SERVICE: On the party herein named at

DOMICILIARY SERVICE: On the within named                                              by leaving the same at his domicile in this parish in the hands of
                     a person of suitable age and discretion residing in the said domicile at
SECRETARY OE STATE: By tendering same to the within named, by handing same to

DUE AND DILIGENT:                 After diligent search and inquiry, was unable to find the within named                         or Isis domicile, or anyone
legally authorized to represent him.

RETURNED: Parish of East Baton Rouge, this                    day of                       20


SERVICES
MILEAGES                                                                Deputy Sheriff
TOTAL: $                                                        Parish of East Baton Rouge

                                                                         CITATION-2000
Case 3:21-cv-00512-SDD-RLB                                              Document 1-2                       09/03/21 Page 11 of 19



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                                                                       CITATION

KAWANDA COLEMAN                                                                         NUMBER C-709995 SEC. 21
(Plaintiff)
                                                                                        195h JUDICIAL DISTRICT COURT
VS
                                                                                        PARISH OF EAST BATON ROUGE
LOUISIANA CVS PHARMACY, L.L.0 #1116,
ET AL                                                                                   STATE OF LOUISIANA
(Defendant)



TO:     CVS PHARMACY, L.L.C. (NON-LOUISIANA CORPORATION)
        THROUGH ITS AGENT FOR SERVICE OF PROCESS:
        C T CORPORATION                                                                                                the
                                                                 I made service on the named party through
        3867 TOWER DRIVE
                                                                                 CT     Corporation
        BATON ROUGE, LA 70816
                                                                                 AUG 0 5 2021
GREETINGS:                                                                                               document to
                                                                    by tendering a copy of this
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        Attached to this citation is a certified copy of the pet tion*. T                                   ghat yea-are being
sued for.                                                                       fp.i)sanaotyesasatryetronyRoouulaLvoeuisrieancaeived
        You must EITHER do what the petition asks OR, witliiPPIW,8411(
these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at
300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further
notice.
        This citation was issued by the Clerk of Court for East Baton Rouge Parish on JULY 27, 2021.
                                                                                      ............




                                                                                                     Deputy Clerk of Court for
                                                                                                     Doug Welborn, Clerk of Court
Requesting Attorney: HOUSE, PHILIP J.
                    (225) 214-4484

*The following documents are attached:
PETITION FOR DAMAGES; REQUEST FOR TEN DAYS NOTICE OF SETTING AND FOR NOTICE OF
INTERLOCUTORY ORDER OR JUDGMENT
                                       SERVICE INFORMATION:

Received on the day of                  , 20               and on the             day of                            served on the above named party as
follows:
PERSONAL SERVICE: On the party herein named at

DOMICILIARY SERVICE: On the within named                                              by leaving the same at his domicile in this parish in the hands of
                     a person of suitable age and discretion residing in the said domicile nt

SECRETARY OF STATE: By tendering same to the within named, by handing same to

DUE AND DILIGENT:                 After diligent search and inquiry, was unable to find the within named                         or his domicile, or anyone
legally authorized to represent him.

RETURNED: Parish or East Baton Rouge, this                    day of                       20


SERVICE:$
MILEAGES                                                               Deputy Sheriff
TOTAL: S                                                        Parish of East Baton Rouge

                                                                        CITATION-2000
Case 3:21-cv-00512-SDD-RLB                                              Document 1-2                         09/03/21 Page 12 of 19



RETURN COPY
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                                                                                                                                                D7107303

                                                                       CITATION

KAWANDA COLEMAN                                                                         NUMBER C-709995 SEC. 21
(Plaintiff)
                                                                                        19th JUDICIAL DISTRICT COURT
VS
                                                                                        PARISH OF EAST BATON ROUGE
LOUISIANA CVS PHARMACY, L.L.0 #1116,
ET AL                                                                                   STATE OF LOUISIANA
(Defendant)



TO:        LOUISIANA CVS PHARMACY, L.L.0 #1116
           7777 BLUEBONNET
           BATON ROUGE, LA 70810


GREETINGS:

        Attached to this citation is a certified copy of the petition*. The petition tells you what you are being
sued for.
        You must EITHER do what the petition asks OR, within fifteen (15) days after you have received
these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at
300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
an answer or legal pleading within fifteen (15) days, a judgment may be rendered against you without further
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                                                                                                            tYtar-v\        Ncovv)
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                                                                                                      Doug Welborn, Clerk of Court
Requesting Attorney: HOUSE, PHILIP J.
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legally authorized to represent hint.

RETURNED: Parish of East Baton Rouge, this          3         day of                    , 20


SERVICE:$
                                                                    TA-
MILEAGES                                                                Deputy Sheriff
TOTAL: $                                                         Parish of East Baton Rouge

                                                                        CITATION-2000




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Case 3:21-cv-00512-SDD-RLB      Document 1-2          09/03/21 Page 13 of 19




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                             E B R SHERIFF'S OFFICE
 Case 3:21-cv-00512-SDD-RLB                          Document 1-2            09/03/21 Page 14 of 19
   EAST BATON ROUGE PARISH              C -709995
      Filed Aug 19. 2021 8:38 AM            21
         Deputy Clerk of Court
E-File Received Aug 18, 2021. 2:45 PM



            KAWANDA COLEMAN                                     DOCKET NO.: C-709995

            VS.                                                 DIV: 21

            LOUISIANA CVS PHARMACY, LLC #1116, 19"4 .1UDICIAL DISTRICT COURT
            LOUISIANA CVS PHARMACY, LLC,
            CVS PHARMACY, LLC,                 PARISH OF EAST BATON ROUGE
            CRAWFISH, LLC and
            XYZ INSURANCE COMPANY              STATE OF LOUISIANA


                  MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS

                    NOW INTO COURT, through undersigned counsel, comes Defendant. Louisiana CVS

          Pharmacy, LLC ("Louisiana CVS"), who appears solely for the purpose of requesting an extension

          of time and does not waive any defenses or objections. Plaintiff filed a Petition for Damages on

          July 26, 2021. and Louisiana CVS was served with the Petition on or about August 5, 2021.

          Undersigned counsel needs additional time to investigate the allegations in the Petition in order to

          file appropriate responsive pleadings. Therefore, Louisiana CVS requests a thirty (30) day

          extension of time or until Monday, September 20, 2021, order to prepare the necessary responses

          to the Plaintiff's Petition for Damages. The initial deadline to file responsive pleadings has not

          passed and this is the first request for an extension of time by Louisiana CVS. Furthermore, and

          an extension will not unduly delay the proceedings.

                   Undersigned counsel has attempted to contact Plaintiff's counsel, Philip House. by

          telephone (225-214-4484) to discuss and confirm the requested extension, hut has not been able to

          reach him. Thus, the instant motion is necessary.

                                                        Respectfully submitted:



                                                       .RepreseutedbYi..
                                                        VanceA: Ciibby6q. (#1375)

                                                       Katie D. Bell (#29831)
                                                       (till ic.13e,Lfi~.rilijiSt77illcs_.c:o~ti
                                                       Forrest E. Guedr,., (1/36482)
                                                                                            ...........
                                                       KEAN MILLER, LLP
                                                       400 Convention Street, Suite 700 (70802)
                                                       Post Office Box 3513
                                                       Baton Rouge. Louisiana 70821
                                                       Telephone: (225) 387-0999
                                                       Facsimile: (225) 388-9133
                                                       Counselfor Louisiana CKS' Pharmacy, LLC
Case 3:21-cv-00512-SDD-RLB                    Document 1-2           09/03/21 Page 15 of 19



                                    CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing has been served via fax, c-mail and United

    States Mail, proper postage prepaid. to the following:

           Philip J. Clouse
           318 St. Charles Street
           Baton Rouge. Louisiana 70802
           -17: 225-214-4484
           F: 225-214-4487
                                             YY-
           Baton Rouge, Louisiana, this       day of August, 2021.

                                            /"...4 • Q-/.

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Case 3:21-cv-00512-SDD-RLB                    Document 1-2            09/03/21 Page 16 of 19



     KAWANDA COLEMAN                                    DOCKET NO.: C-709995

     VS.                                                DIV: 21

     LOUISIANA CVS PHARMACY', LLC #1116, 191" JUDICIAL DISTRICT COURT
     LOUISIANA CVS PHARMACY, LLC,
     CVS PHARMACY, LLC,                  PARISH OF EAST BATON ROUGE
     CRAWFISH, LLC and
     XYZ INSURANCE COMPANY               STATE OF LOUISIANA

                                                ORDER

           Considering the foregoing Motion for Extension of Time to File Responsive Pleadings filed

    on behalf of Defendant, Louisiana CVS Pharmacy, LLC,

           IT IS ORDERED that Defendant, Louisiana CVS Pharmacy, LLC is hereby granted an

    additional thirty (30) days from the deadline by which the responsive pleadings were to be filed,

    or until Monday, September 20, 2021, within which to file responsive pleadings in the above-

    captioned matter.



           Signed this      day of August, 2021, Baton Rouge, Louisiana.




                                      HON. RONALD JOHNSON
                                19th Judicial District Court, Division 21
                                      Parish of East Baton Rouge




                                                   3
Case 3:21-cv-00512-SDD-RLB                         Document 1-2              09/03/21 Page 17 of 19


    EAST BATON ROUGE PARISH             C-709995
       Filed Aug 19, 2021 8:38 AM          21
          Deputy Clerk of Court
 A-pile Received Aug 18, 2021 2:45 PM



            KAWANDA COLEMAN                                      DOCKET NO.: C-709995

            VS.                                                  DIV: 21

            LOUISIANA CVS PHARMACY, LLC #1116, 191-0 JUDICIAL DISTRICT COURT
            LOUISIANA CVS PHARMACY, LLC,
            CVS PHARMACY, LLC,                 PARISH OF EAST BATON ROUGE
            CRAWFISH, LLC and
            XYZ INSURANCE COMPANY              STATE OF LOUISIANA


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                                                         Respectfully submitted:



                                                         Re eseqtect*: .---/
                                                         Vance tA,-Oihtts(Esq. (#1375)
                                                       '--Klance.skbsgk eaarniller.com
                                                         Katie D. Bell (#29831)
                                                         Katie.Bell4keanmiller.com
                                                         Forrest E. Cuedry (#36482)
                                                         Forrest.Guedrvgkearuniller.com
                                                         KEAN MILLER, LLP
                                                         400 Convention Street, Suite 700 (70802)
                                                         Post Office Box 3513
                                                         Baton Rouge, Louisiana 70821
                                                         Telephone: (225) 387-0999
                                                         Facsimile: (225) 388-9133
                                                         Counselfor Louisiana CVS Pharmacy, LLC
Case 3:21-cv-00512-SDD-RLB                    Document 1-2            09/03/21 Page 18 of 19




                                      CERTIFICATE OF SERVICE

             I hereby certify that a copy of the foregoing has been served via fax, e-mail and United

      States Mail, proper postage prepaid, to the following:

             Philip I 'louse
             318 St. Charles Street
             Baton Rouge, Louisiana 70802
             T: 225-214-4484
             F: 225-214-4487

             Baton Rouge, Louisiana, this      day of August, 2021.




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Case 3:21-cv-00512-SDD-RLB                   Document 1-2              09/03/21 Page 19 of 19




       KAWANDA COLEMAN                                    DOCKET NO.: C-709995

       VS.                                                DIV: 21

       LOUISIANA CVS PHARMACY, LLC #1116, 19TH JUDICIAL DISTRICT COURT
       LOUISIANA CVS PHARMACY, LLC,
       CVS PHARMACY, LLC,                 PARISH OF EAST BATON ROUGE
       CRAWFISH, LLC and
       XYZ INSURANCE COMPANY              STATE OF LOUISIANA

                                                  ORDER

             Considering the foregoing Motion for Extension of Time to File Responsive Pleadings filed

      on behalf of Defendant, Louisiana CVS Pharmacy, LLC,

             IT IS ORDERED that Defendant, Louisiana CVS Pharmacy, LLC is hereby granted an

      additional thirty (30) days from the deadline by which the responsive pleadings were to be filed,

      or until Monday, September 20, 2021, within which to file responsive pleadings in the above-

      captioned matter.



             Signed this 19 day of August, 2021, Baton Rouge, Louisiana.




                                        HON. RONALItI LJ ISON
                                  19th Judicial District Court, Division 21
                                         Parish of East Baton Rouge




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